Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 1 of 30

614. States that paragraph 614 consists of a conclusion of law as to which no
response is required, and denies that Plaintiffs and their counsel do not have any interest adverse

to those of the purported class.

615-616. States that paragraphs 615-616 consist of conclusions of law as to which no
response is required, otherwise denies that class certification is appropriate in this case, denies
that Plaintiffs or any putative class members have suffered damages or injuries as alleged in
paragraphs 615-616, and further denies the allegations in paragraphs 615-616 to the extent they

are directed at AstraZeneca.

617-618. States that paragraphs 617-618 consist of conclusions of law as to which no
response is required, otherwise denies that class certification is appropriate in this case, and that
Plaintiffs or any putative class members have suffered damages or injuries, as alleged in
paragraphs 617-618. AstraZeneca further denies the allegations in paragraphs 617-618 to the
extent they are directed at AstraZeneca, specifically denies the existence of, and participation in,
any “conspiracy,” as alleged in paragraph 617, and denies knowledge or information sufficient to

form a belief as to the truth of the allegations as to the other parties.

COUNT I

ALLEGED VIOLATIONS OF 18 U.S.C. § 1962(C)
(AGAINST DEFENDANT DRUG MANUFACTURERS)

619-646. The Court dismissed Count I in its order dated February 24, 2004. As such,
AstraZeneca does not respond to paragraphs 619-646. To the extent a response is required,

AstraZeneca denies all allegations contained in Count I of the AMCC.

31
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 2 of 30

COUNT II

ALLEGED VIOLATIONS OF 18 U.S.C. § 1962(C)
(AGAINST DEFENDANT DRUG MANUFACTURERS)
647. Answering for paragraph 647, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs | through 646.

648-649. States that paragraphs 648-649 consist of conclusions of law to which no
response is required, and otherwise states that Plaintiffs purport to bring this action and to seek
relief under Count II as alleged in paragraph 648, but AstraZeneca denies that Plaintiffs are
entitled to maintain this action as alleged or to obtain any relief against AstraZeneca under Count
II. AstraZeneca further denies that Plaintiffs have pled a proper class as alleged in paragraph

649, and denies the remaining allegations of paragraphs 648-649.

650. States that paragraph 650 consists of a conclusion of law to which no response
is required, and denies knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 650 as to the other entities.

651. States that paragraph 651 consists of a conclusion of law to which no response

is required.

652-654. States that paragraphs 652-654 consist of conclusions of law to which no
response is required, otherwise denies the allegations in paragraphs 652-654 to the extent that
they are directed at AstraZeneca, specifically denies the existence of, and participation in, any
“Manufacturer-PBM Enterprise,” “AWP Scheme” or “hidden profit-making scheme,” as alleged
in paragraphs 652-654, and denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraphs 652-654 as to the other parties and entities.

32
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 3 of 30

655. Denies knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraph 655, and refers to the undated industry report, referenced in

paragraph 655, for its content, which speaks for itself.

656. States that paragraph 656 consists of a conclusion of law to which no response
is required, otherwise denies the allegations in paragraph 656 to the extent that they are directed
at AstraZeneca, specifically denies the existence of, and participation in, any “enterprise” as
alleged in paragraph 656, and denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 656 as to the other parties and entities.

657. Denies the allegations in paragraph 657 to the extent that they are directed at
AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 657 as to the other parties and entities.

658-660. Denies the allegations in paragraphs 658-660 to the extent that they are
directed at AstraZeneca, specifically denies the existence of, and participation in, any “scheme”
as alleged in paragraphs 659-660, and denies knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraphs 658-660 as to the other parties and entities.

661-662. States that paragraphs 661-662 (and subparts) consist of conclusions of law to
which no response is required, otherwise denies the allegations in paragraphs 661-662 (and
subparts) to the extent that they are directed at AstraZeneca, specifically denies the existence of,
and participation in, any “Manufacturer-PBM Enterprise” as alleged in paragraphs 661-662, and
denies knowledge or information sufficient to form a belief as to the truth of the allegations in

paragraphs 661-662 (and subparts) as to the other parties and entities.

33
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 4 of 30

663-664. Denies the allegations in paragraphs 663-664 to the extent that they are
directed at AstraZeneca, specifically denies the existence of, and participation in, any “AWP
Scheme” as alleged in paragraph 664, and denies knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraphs 663-664 as to the other parties.

665-666. States that paragraphs 665-666 (and subparts) consist of conclusions of law to
which no response is required, otherwise denies the allegations in paragraphs 665-666 (and
subparts) to the extent that they are directed at AstraZeneca, specifically denies the existence of,
and participation in, any “AWP Scheme” as alleged in paragraphs 665-666 (and subparts), and
denies knowledge or information sufficient to form a belief as to the truth of the allegations in

paragraphs 665-666 (and its subparts) as to the other parties.

667-670. States that paragraphs 667-670 (and subparts) consist of conclusions of law to
which no response is required, otherwise denies the allegations in paragraphs 667-670 (and
subparts) to the extent that they are directed at AstraZeneca, specifically denies the existence of,
and participation in, any “Manufacturer-PBM Enterprise” or “AWP Scheme” as alleged in
paragraphs 667-670, and denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraphs 667-670 (and subparts) as to the other parties and entities.

671-672. Denies the allegations in paragraphs 671-672 to the extent that they are
directed at AstraZeneca, specifically denies the existence of, and participation in, any “AWP
Scheme” or “enterprise,” as alleged in paragraphs 671-672, and denies knowledge or information
sufficient to form a belief as to the truth of the allegations in paragraphs 671-672 as to the other

parties and entities.

34
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 5 of 30

673-675. States that paragraphs 673-675 consist of conclusions of law to which no
response is required, otherwise denies the allegations in paragraphs 673-675 to the extent that
they are directed at AstraZeneca, specifically denies the existence of, and participation in, any
“Manufacturer-PBM Enterprise” or “AWP Scheme” as alleged in paragraphs 674-675, and
denies knowledge or information sufficient to form a belief as to the truth of the allegations in

paragraphs 673-675 as to the other parties and entities.

676. Denies the allegations in paragraph 676 to the extent that they are directed at
AstraZeneca, specifically denies the existence of, and participation in, any “A WP Scheme” as
alleged in paragraph 676, and denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 676 as to the other parties and entities.

677. States that paragraph 677 consists of conclusions of law to which no response
is required, otherwise denies the allegations in paragraph 677 to the extent that they are directed
at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraph 677 as to the other parties. AstraZeneca further denies that Plaintiffs

or any putative class members have suffered damages or injuries as alleged in paragraph 677.

678. Denies the allegations in paragraph 678 to the extent that they are directed at
AstraZeneca, specifically denies the existence of, and participation in, any “AWP Scheme” as
alleged in paragraph 678, and denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 678 as to the other parties.

679. States that paragraph 679 consists of a conclusion of law to which no response
is required, otherwise denies the allegations in paragraph 679 to the extent that they are directed

at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of

35
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 6 of 30

the allegations in paragraph 679 as to the other parties. AstraZeneca further denies that Plaintiffs

or any putative class members have suffered damages or injuries as alleged in paragraph 679.

COUNT III

DECLARATORY AND OTHER RELIEF PURSUANT TO 28 U.S.C. §§ 2201, 2002
(AGAINST DEFENDANT DRUG MANUFACTURERS)
680. Answering for paragraph 680, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs | through 679.

681. States that paragraph 681 consists of a conclusion of law to which no response
is required, otherwise denies the allegations in paragraph 681 to the extent that they are directed
at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 681 as to the other parties.

682. Denies the allegations in paragraph 682 to the extent that they are directed at
AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 682 as to the other parties and entities.

683. States that paragraph 683 consists of a conclusion of law to which no response
is required, otherwise denies the allegations in paragraph 683 to the extent that they are directed
at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 683 as to the other parties.

36
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 7 of 30

COUNT IV

PURPORTED VIOLATIONS OF CONSUMER PROTECTION STATUTES

684. Answering for paragraph 684, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs 1 through 683.

685. Admits that Plaintiffs purport to bring this count on behalf of the AWP End
Payor Class, but denies that Plaintiffs may properly bring this lawsuit as a class action as alleged

in paragraph 685.

686. States that paragraph 686 consists of conclusions of law to which no response
is required, except admits that Zeneca Inc. and AstraZeneca Pharmaceuticals LP are incorporated
and have their principal place of business in Delaware, and that certain states have enacted
consumer protection laws, but denies that AstraZeneca has violated such laws or that Plaintiffs or
any putative class members are entitled to relief under such laws, and otherwise denies
knowledge or information sufficient to form a belief as to the truth of the allegations in

paragraph 686 as to the other parties.

687. States that paragraph 687 (and its subparts) consists of a conclusion of law to
which no response is required, otherwise denies the allegations in paragraph 687 (and its
subparts) to the extent that they are directed at AstraZeneca, specifically denies the existence of,
and participation in, any “AWP Scheme,” and further denies knowledge or information sufficient
to form a belief as to the truth of the allegations in paragraph 687 (and its subparts) as to the

other parties.

37
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 8 of 30

688-690. Denies the allegations in paragraphs 688-690 to the extent that they are
directed at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraphs 688-690 as to the other parties.

691. States that paragraph 691 consists of a conclusion of law to which no response
is required, otherwise denies the allegations in paragraph 691 to the extent that they are directed
at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraph 691 as to the other parties. AstraZeneca further denies that Plaintiffs

or any putative class members have suffered damages or injuries as alleged in paragraph 691.

COUNT V

CLAIM FOR INJUNCTIVE RELIEF UNDER SECTION 16 OF THE CLAYTON ACT

692. Answering for paragraph 692, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs | through 691.

693-698. States that paragraphs 693-698 consist of conclusions of law to which no
response is required, otherwise denies the allegations in paragraphs 693-698 to the extent that
they are directed at AstraZeneca, denies the existence of, and participation in, any “conspiracy,”
as alleged in paragraphs 694 and 696, and denies knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraphs 693-698 as to the other parties and entities.
AstraZeneca further denies that it sold Together Card Drugs as alleged in paragraph 695, and
denies that Plaintiffs or any putative class members have suffered damages or injuries as alleged

in paragraph 697.

38
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 9 of 30

COUNT VI

CLAIM FOR ALLEGED VIOLATION OF SHERMAN ACT, 15 U.S.C. § 1 ON BEHALF
OF NATIONWIDE END PAYOR TOGETHER CARD CLASS

699, Answering for paragraph 699, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs 1 through 698.

700-704. States that paragraphs 700-704 consist of conclusions of law to which no
response is required, otherwise denies the allegations in these paragraphs to the extent that they
are directed at AstraZeneca, denies the existence of, and participation in, any “conspiracy,” as
alleged in paragraphs 700-702, and further denies knowledge or information sufficient to form a
belief as to the truth of the allegations as to the other parties and entities. AstraZeneca denies
that Plaintiffs or any putative class members have suffered damages or injuries as alleged in
paragraphs 702-703.

COUNT VII
CLAIM UNDER THE ANTITRUST STATUTES OF THE INDIRECT

PURCHASER STATES ON BEHALF OF INDIRECT PURCHASER STATES END
PAYOR TOGETHER CARD CLASS

705-708. Repeats and incorporates as if fully set forth herein each and every response to
the allegations in paragraphs | through 704. States that paragraphs 705-708 (and subparts)
consist of conclusions of law to which no response is required, otherwise denies the allegations
of these paragraphs to the extent they are directed at AstraZeneca, and denies knowledge or
information sufficient to form a belief as to the truth of the allegations as to the other parties and
entities. AstraZeneca further denies that Plaintiffs or any putative class members have suffered

damages or injuries as alleged in paragraphs 707-708.

39
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 10 of 30

COUNT VIII

ALLEGED VIOLATIONS OF 18 U.S.C. § 1962(C)-(D)
(AGAINST THE TOGETHER CARD DEFENDANTS)
709. Answering for paragraph 709, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs 1 through 708.

710-711. States that paragraphs 710-711 consist of conclusions of law to which no
response is required, otherwise denies the allegations of paragraphs 710-711 to the extent that
they are directed at AstraZeneca, denies knowledge or information sufficient to form a belief as
to the truth of the allegations of paragraphs 710-711 as to the other parties and entities, except
admits that Plaintiffs purport to bring this action and to seek relief under Count VIII as alleged in
paragraph 710, but denies that Plaintiffs are entitled to maintain this action as alleged or to obtain

any relief against AstraZeneca under Count VIII.

712. States that paragraph 712 consists of conclusions of law to which no response
is required, otherwise denies the allegations of paragraph 712 to the extent that they are directed
at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of
the allegations of paragraph 712 as to the other parties, except admits that the member companies
of Together Rx LLC are Abbott Laboratories, AstraZeneca Pharmaceuticals LP, Aventis
Pharmaceuticals Inc., Bristol-Meyers Squibb Company, SmithKline Beecham Corporation d/b/a
GlaxoSmithKline, Johnson & Johnson Healthcare Systems, Inc., and Novartis Pharmaceuticals

Corporation.

713-715. Denies the allegations in paragraphs 713-715 to the extent that they are

directed at AstraZeneca, denies the existence of, and participation in, any “enterprise,” or

40
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 11 of 30

“scheme” as alleged in paragraphs 713-715, and further denies knowledge or information
sufficient to form a belief as to the truth of the allegations of paragraphs 713-715 as to the other

partics.

716. States that paragraph 716 consists of conclusions of law to which no response
is required, otherwise denies the allegations of paragraph 716 to the extent that they are directed
at AstraZeneca, specifically denies the existence of, and participation in, any “scheme,” as
alleged in paragraph 716, and denies knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 716 as to the other parties.

717. Denies the allegations in paragraph 717 (and its subparts) to the extent that
they are directed at AstraZeneca, denies the existence of, and participation in, any “scheme” as
alleged in paragraph 717, and further denies knowledge or information sufficient to form a belief

as to the truth of the allegations of paragraph 717 (and its subparts) as to the other parties.

718-719. States that paragraphs 718-719 (and subparts) consist of conclusions of law to
which no response is required, otherwise denies the existence of, and participation in, any
“enterprise,” or “conspiracy” as alleged in paragraphs 718-719, denies the allegations of
paragraphs 718-719 (and subparts) to the extent that they are directed at AstraZeneca, and further
denies knowledge or information sufficient to form a belief as to the truth of the allegations of

paragraphs 718-719 (and subparts) as to the other parties.

720, Denies the allegations in paragraph 720 to the extent that they are directed at
AstraZeneca, specifically denies the existence of, and participation in, any “scheme” as alleged
in paragraph 720, and denies knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 720 as to the other parties.

4l
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 12 of 30

721. States that paragraph 721 consists of conclusions of law to which no response
is required, otherwise denies the allegations of paragraph 721 to the extent that they are directed
at AstraZeneca, and denies knowledge or information sufficient to form a belief as to the truth of

the allegations of paragraph 721 as to the other parties.

722-723. Denies the allegations in paragraphs 722-723 to the extent that they are
directed at AstraZeneca, specifically denies the existence of, and participation in, any “scheme”
as alleged in paragraphs 722-723, and further denies knowledge or information sufficient to form

a belief as to the truth of the allegations of paragraphs 722-723 as to the other parties.

724-725. States that paragraphs 724-725 consist of conclusions of law to which no
response is required, otherwise denies the allegations of paragraphs 724-725 to the extent that
they are directed at AstraZeneca, and denies knowledge or information sufficient to form a belief
as to the truth of the allegations of paragraphs 724-725 as to the other parties. AstraZeneca
further denies that Plaintiffs or any putative class members have suffered damages or injuries as

alleged in paragraphs 724-725,

COUNT IX

ALLEGED CIVIL CONSPIRACY
(AGAINST ALL DEFENDANTS)
720. Answering for paragraph 726, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs | through 725.

727. States that paragraph 727 consists of a conclusion of law to which no response
is required, except admits that Plaintiffs purport to bring this count on behalf of the AWP Payor

Class, but denies that Plaintiffs may properly bring this lawsuit as a class action.

42
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 13 of 30

728-733. States that paragraphs 728-733 (and subparts) consist of conclusions of law to
which no response is required, otherwise denies the allegations of paragraphs 728-733 (and
subparts) to the extent that they are directed at AstraZeneca, specifically denies the existence of,
and participation in, any “AWP Scheme” or “Manufacturer-PBM Conspiracy,” as alleged in
paragraphs 728 and 730, and denies knowledge or information sufficient to form a belief as to
the truth of the allegations of paragraphs 728-733 (and subparts) as to the other parties and
entities. AstraZeneca further denies that Plaintiffs or any putative class members have suffered

damages or injuries as alleged in paragraph 733.

COUNT X

ALLEGED CIVIL CONSPIRACY
(AGAINST THE TOGETHER CARD DEFENDANTS)
734, Answering for paragraph 734, repeats and incorporates as if fully set forth

herein each and every response to the allegations in paragraphs 1 through 733.

735. States that paragraph 735 consists of a conclusion of law to which no response
is required, except admits that Plaintiffs purport to bring this count on behalf of the Nationwide
End Payor Together Rx Class and CMHV, and denies that there exists any basis in fact or law
for the institution or maintenance of this action, or that Plaintiffs may properly bring this lawsuit

as a class action.

736-741. States that paragraphs 736-741 consist of conclusions of law to which no
response is required, otherwise denies the allegations of paragraphs 736-741 to the extent that
they are directed at AstraZeneca, denies the existence of, and participation in, any “conspiracy”

as alleged in paragraphs 736-741, and further denies knowledge or information sufficient to form

43
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 14 of 30

a belief as to the truth of the allegations of paragraphs 736-741 as to the other parties.
AstraZeneca further denies that Plaintiffs or any putative class members have suffered damages
or injuries as alleged in paragraph 741.

X. PRAYER FOR RELIEF

AstraZeneca denies Plaintiffs are entitled to a judgment or any other relief requested in
their Prayer for Relief, as stated in the unnumbered paragraph following paragraph 741 of the
AMCC.

DEFENSES

Without assuming the burden of proof of such defenses that it would not otherwise have,
AstraZeneca asserts the following defenses:

First Defense

Plaintiffs and the putative class fail to state a claim against AstraZeneca upon which
relief may be granted.

Second Defense

Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the political
question and separation of powers doctrines.
Third Defense
Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the filed rate

doctrine.

44
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 15 of 30

Fourth Defense

Plaintiffs and the putative class have not suffered, and will not suffer, any injury to a
legally protected or cognizable interest by reason of the conduct of AstraZeneca as alleged in the
AMCC.

Fifth Defense

To the extent Plaintiffs and/or any member of the putative class obtain recovery in any
other case predicated on the same factual allegations, that Plaintiff or purported class member is
barred from seeking recovery against AstraZeneca based on the AMCC pursuant to the doctrines
of res judicata and collateral estoppel, and the prohibition on double recovery for the same
injury.

Sixth Defense

Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the First
Amendment to the United States Constitution and the analogous provisions of the Constitutions
of the States of California, Delaware, Florida, [inois, Louisiana, Minnesota, New Jersey, New
York, Pennsylvania, Texas, Washington and any other States whose laws are or become relevant
in the course of this multidistrict litigation.

Seventh Defense

Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the Noerr-
Pennington doctrine to the extent that such claims are premised, in whole or in part, on alleged
statements or conduct by AstraZeneca in judicial, legislative or administrative proceedings of

any kind or at any level of government.

4S
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 16 of 30

Eighth Defense

Plaintiffs’ and the putative class’ claims are barred, in whole or in part, to the extent that
Plaintiffs and the putative class members have released, settled, entered into an accord and
satisfaction or otherwise compromised their claims.

Ninth Defense

Any and all actions taken by AstraZeneca with respect to any of the matters alleged in the
AMCC were taken in good faith and in accordance with established industry practice.

Tenth Defense

Plaintiffs’ and the putative class’ state law claims are preempted, in whole or in part, by
federal law, including without limitation the Federal Employment Retirement Income and
Security Act of 1974, the Federal Medicare Act, and the Federal Medicaid Act, including all
amendments to the same and all regulations promulgated thereunder.

Eleventh Defense

Plaintiffs’ and the putative class’ claims are preempted by the dormant Commerce Clause
of the United States Constitution.

Twelfth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred because
AstraZeneca has complied with all applicable regulations of the federal and state governments.

Thirteenth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred, in whole or in
part, by the applicable statutes of limitations and repose, and by the doctrines of laches, estoppel,

and waiver.

46
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 17 of 30

Fourteenth Defense

Plaintiffs’ and the putative class’ claims are barred, in whole or in part, because they
violate AstraZeneca’s rights under the Due Process and Ex Post Facto clauses of the United
States Constitution, as well as all applicable state constitutions, insofar as Plaintiffs and the
putative class members seek to impose liability retroactively for conduct that was not actionable
at the time it occurred.

Fifteenth Defense

AstraZeneca’s statements or actions were not the proximate cause or cause in fact of any
injury to or alleged loss by Plaintiffs or the putative class.

Sixteenth Defense

Plaintiffs and the putative class fail to state with particularity facts to support the fraud
allegations, and fail to plead with particularity the fraudulent concealment and multi-source
medicine allegations against AstraZeneca contained in the AMCC.

Seventeenth Defense

Plaintiffs and the putative class fail to allege with particularity their civil conspiracy
claims against AstraZeneca as required by Fed. R. Civ. P. 9(b).

Eighteenth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred, in whole or in
part, because AstraZeneca did not make any false statements to Plaintiffs or to any members of
the putative class members. As to any statement asserted against AstraZeneca that Plaintiffs and
the putative class allege to be false or misleading, AstraZeneca had no reasonable grounds to
believe, and did not believe at the time such a statement was made, that the statement was false
or misleading.

47
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 18 of 30

Nineteenth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred because
AstraZeneca did not directly or indirectly conspire with any other entity or engage in any other
conduct in violation of state or federal law.

Twentieth Defense

Plaintiffs’ and the putative class’ RICO claims against AstraZeneca are barred, in whole
or in part, due to Plaintiffs’ failure to properly allege a RICO enterprise as required by 18 U.S.C.
§ 1962(c).

Twenty-First Defense

Plaintiffs’ and the putative class’ RICO claims against AstraZeneca are barred, in whole
or in part, due to their failure to plead facts showing that AstraZeneca and the PBMs are ongoing
organizations whose members function as a continuing unit and share common purposes as
required by United States v. Turkette, 452 U.S. 576, 583 (1981).

Twenty-Second Defense

Plaintiffs’ and the putative class’ RICO claims against AstraZeneca are barred, in whole
or in part, due to their failure to allege that AstraZeneca conducted the affairs of the alleged
enterprises as required by 18 U.S.C. § 1962(c).

Twenty-Third Defense

Plaintiffs and the putative class lack standing to bring their RICO claims against
AstraZeneca because they cannot show that AstraZeneca directly caused their alleged injuries as
required by 18 U.S.C. § 1964(c) and Holmes v. Securities Investor Prot. Corp., 503 U.S. 258,

265-66, 268 (1992).

48
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 19 of 30

Twenty-Fourth Defense

Plaintiffs’ and the putative class’ civil conspiracy claims against AstraZeneca are barred,
in whole or in part, by their failure to allege a concerted action as required by Aetna Cas. Sur.
Co. v. P&B Autobody, 43 F.3d 1546, 1564 (1" Cir. 1994) and Grant v. John Hancock Mut. Life
Ins. Co., 183 F. Supp. 2d 344, 359 (D. Mass. 2002), and/or by their failure to allege a coercive
conspiracy as required by Fleming v. Dance, 22 N.E.2d 609, 611 (Mass. 1939).

Twenty-Fifth Defense

Plaintiffs’ and the putative class’ civil conspiracy claims against AstraZeneca are barred,
in whole or in part, because they are duplicative and improper under Massachusetts law. See

Grant, 183 F. Supp. 2d at 364.

Twenty-Sixth Defense

AstraZeneca denies that Plaintiffs and the putative class have valid consumer protection
claims against AstraZeneca under California, Delaware, Florida, [linois, Louisiana, Minnesota,
New Jersey, New York, Pennsylvania, Texas, Washington or any other State whose law is or
becomes relevant in the course of this multidistrict litigation. However, if such claims are found
to exist, AstraZeneca pleads all available defenses under the Acts.

Twenty-Seventh Defense

Any allegedly fraudulent statements or conduct of AstraZeneca did not directly or
proximately cause the alleged injuries of Plaintiffs and/or any members of the putative class as
required under state consumer protection laws, including without limitation those of Florida,

Illinois, Louisiana, New Jersey, New York, Pennsylvania, Texas and Washington.

49
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 20 of 30

Twenty-Eighth Defense

9F 86. 39 be.

AstraZeneca’s conduct was neither “deceptive,” “misleading,” “unlawful” nor “illegal”
as required under certain state consumer protection laws, including without limitation those of
Delaware, Florida, [linois, Louisiana, Minnesota, New Jersey, New York, Texas and/or
Washington.

Twenty-Ninth Defense

To the extent that Plaintiffs and the putative class members attempt to seek equitable
relief against AstraZeneca, they are not entitled to such relief because they have an adequate
remedy at law.

Thirtieth Defense

Plaintiffs and the putative class lack standing to bring their asserted consumer protection
claims against AstraZeneca under certain state consumer protection laws, including without
limitation those of Delaware, Florida, Louisiana, New Jersey, Pennsylvania and Washington.

Thirty-First Defense

Plaintiffs and the putative class did not rely on the allegedly fraudulent statements or
conduct of AstraZeneca as required under certain state consumer protection laws, including
without limitation those of New York and Pennsylvania.

Thirty-Second Defense

Any allegedly fraudulent statement or conduct of AstraZeneca was not consumer-
oriented as required under certain consumer protection laws, including without limitation that of

New York.

50
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 21 of 30

Thirty-Third Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca for injunctive relief were
mooted by the passage of the 2003 Medicare reform legislation.

Thirty-Fourth Defense

Plaintiffs’ and the putative class’ claims for injunctive relief against AstraZeneca are
barred by the doctrines of in pari delicto and/or unclean hands.

Thirty-Fifth Defense

This action cannot be maintained as a class action because (1) the certification and
maintenance of this action as a class would violate the separation of powers provisions of the
United States Constitution and would be an unconstitutional usurpation of authority reserved to
the legislative branch; (2) the claims of Plaintiffs and the putative class cannot be properly joined
with one another because they did not arise out of the same transaction, occurrence, or series of
transactions or occurrences; (3) the named Plaintiffs and the putative class cannot satisfy the
procedural requirements of Fed. R. Civ. P. 23; (4) the questions of fact at issue are not common
to the alleged class, but rather, are highly specific and will vary dramatically from person to
person and entity to entity; and/or (5) class certification would violate AstraZeneca’s rights
provided by the Fifth, Seventh and Fourteenth Amendments to the United States Constitution as
well as by the Constitutions of the States of California, Delaware, Florida, Illinois, Louisiana,
Minnesota, New Jersey, New York, Pennsylvania, Texas, Washington and any other States
whose laws are or become relevant in the course of this multidistrict litigation, including but not
limited to AstraZeneca’s right to procedural and substantive safeguards, which include

traditional defenses to liability.

51
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 22 of 30

Thirty-Sixth Defense

Plaintiffs’ and the putative class’ antitrust claims against AstraZeneca: (1) are barred
because they have not suffered any antitrust injury; (2) are barred, in whole or in part, for lack of
standing; and/or (3) should be dismissed because the alleged conspiracy does not make economic
sense and is economically implausible.

Thirty-Seventh Defense

Any alleged restraints complained of in the AMCC are ancillary to legitimate,
procompetitive activity.
Thirty-Eighth Defense
AstraZeneca’s conduct was not intended to have, did not have and was not likely to have
had any adverse effects on competition in any relevant market.

Thirty-Ninth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca under Section | of the
Sherman Act, 15 U.S.C. § 1, are barred to the extent recovery is based on indirect purchases of
medicines.

Fortieth Defense

Plaintiffs’ and the putative class’ antitrust claims against AstraZeneca under the various
state antitrust statutes are barred, in whole or in part, to the extent those statutes (1) do not allow
(or did not allow at the time the conduct was alleged herein) recovery of damages by indirect
purchasers; and (2) do not govern conduct that is predominantly interstate in nature.

Forty-First Defense

Plaintiffs’ and the putative class’ antitrust claims against AstraZeneca under the various

state unfair trade and competition statutes are barred, in whole or in part, to the extent those

52
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 23 of 30

statutes (1) do not allow (or did not allow at the time the conduct was alleged herein) recovery of
damages by indirect purchasers; and (2) do not govern conduct that is predominantly intrastate in
nature.

Forty-Second Defense

Plaintiffs’ and the putative class’ antitrust claims against AstraZeneca under the various
state consumer protection and consumer fraud statutes are barred, in whole or in part, to the
extent those statutes (1) do not allow (or did not allow at the time the conduct was alleged
herein) recovery of damages by indirect purchasers; and (2) do not govern conduct that is
predominantly intrastate in nature.

Forty-Third Defense

Plaintiffs’ and the putative class’ antitrust claims against AstraZeneca under the various
state unfair trade, unfair competition, consumer protection and consumer fraud statutes are
barred to the extent (1) those claims represent an impermissible circumvention of the states’
antitrust statutes; and (2) those statutes apply only to deceptive or misleading conduct and/or
govern only consumer transactions.

Forty-Fourth Defense

Third-party payor plaintiffs’ and third-party payor putative class members’ claims against
AstraZeneca are barred, in whole or part, with respect to any alleged overcharge or
supracompetitive price on the ground that third-party payors passed on any effect of the alleged
supracompetitive prices to their customers or employees in the form of higher premiums, co-pays

or other charges.

53
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 24 of 30

Forty-Fifth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred, in whole or in
part, with respect to any alleged overcharge or supracompetitive price because such
supracompetitive price, if any, was absorbed, in whole or in part, by a person and/or entity which
purchased the medicine directly, and/or by an intermediate indirect purchaser, and was not
passed through to the Plaintiffs and putative class members.

Forty-Sixth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred, in whole or in
part, due to their failure to join indispensable parties.

Forty-Seventh Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca are barred, in whole or in
part, because they have suffered no damages as a result of the matters alleged in the AMCC.

Forty-Eighth Defense

Plaintiffs’ and the putative class’ claims are barred, in whole or in part, because any
injuries sustained by Plaintiffs or the putative class were the result of intervening or superceding
conduct of third parties.

Forty-Ninth Defense

Plaintiffs’ and the putative class’ claims against AstraZeneca for damages are barred, in
whole or in part, (1) because they failed to mitigate their damages, and their failure to mitigate
damages should proportionately reduce the recovery of such persons and the allocation of any
fault, if any exists, attributable to AstraZeneca; (2) because they would be unjustly enriched if
allowed to recover any portion of the damages alleged in the AMCC; (3) by the doctrine of

consent and/or ratification to the extent that Plaintiffs and/or putative class members have

54
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 25 of 30

received and paid for medicines manufactured, marketed and sold by AstraZeneca after the filing
of Plaintiffs’ original Complaint; and (4) because they are speculative and remote and because of
the impossibility of ascertaining and allocating those alleged damages.

Fiftieth Defense

AstraZeneca is entitled to a set-off, should any damages be awarded against it, for the
entire amount of all damages or settlement amounts recovered by Plaintiffs and/or the putative
class, with respect to the same alleged injuries.

Fifty-First Defense

Any damages recovered by the Plaintiffs and the putative class from AstraZeneca must
be limited by the applicable statutory ceilings on recoverable damages.

Fifty-Second Defense

Plaintiffs and the putative class fail to allege facts or a cause of action against
AstraZeneca sufficient to support a claim for attorneys’ fees, treble damages and/or legal fees.

Fifty-Third Defense

To the extent punitive damages are sought, Plaintiffs’ and the putative class’ punitive
damages claims against AstraZeneca: (1) have no basis in law or fact; (2) are not recoverable
because the allegations of the AMCC are legally insufficient to support a claim for punitive
damages against AstraZeneca; (3) cannot be sustained because laws regarding the standards for
determining liability for and the amount of punitive damages fail to give AstraZeneca prior
notice of the conduct for which punitive damages may be imposed and the severity of the penalty
that may be imposed, and are void for vagueness in violation of AstraZeneca’s due process rights
guaranteed by the Fifth and Fourteenth Amendments to the United States Constitution and the

constitutions of any applicable states’ laws; (4) cannot be sustained because any award of

55
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 26 of 30

punitive damages exceeding the limits authorized by the laws or other comparable laws would
violate AstraZeneca’s due process and equal protection rights guaranteed by the Fifth and
Fourteenth Amendments to the United States Constitution and would be improper under the
constitutions, common law and applicable states’ laws; (5) cannot be sustained because an award
of punitive damages in this case, combined with any prior, contemporaneous, or subsequent
judgments against AstraZeneca for punitive damages arising from the design, development,
manufacture, fabrication, distribution, supply, marketing, sale, or use of AstraZeneca’s
medicines would constitute impermissible multiple punishments for the same wrong, in violation
of AstraZeneca’s due process and equal protection rights guaranteed by the Fifth and Fourteenth
Amendments to the United States Constitution and would constitute double jeopardy in violation
of the constitutions, common law and statutory law of any applicable states’ laws; (6) cannot be
sustained because any award of punitive damages without the apportionment of the award
separately and severally between or among the alleged joint tortfeasors, as determined by the
alleged percentage of the wrong committed by each alleged tortfeasor, would violate
AstraZeneca’s due process and equal protection rights guaranteed by the Fifth and Fourteenth
Amendments to the United States Constitution and would be improper under the constitutions,
common law and public policies of any applicable states’ law; and (7) cannot be sustained
because any award of punitive damages, which are penal in nature, without according
AstraZeneca the same protections that are accorded to all criminal defendants, including the
protection against unreasonable searches and seizures, the privilege against self-incrimination,
and the rights to confront adverse witnesses, a speedy trial, and the effective assistance of
counsel, would violate AstraZeneca’s rights guaranteed by the Fourth, Fifth, and Sixth

Amendments as incorporated into the Fourteenth Amendment to the United States Constitution
56
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 27 of 30

and would be improper under the constitutions, common law and public policies of any
applicable states’ laws.

Fifty-Fourth Defense

To the extent punitive damages are sought, Plaintiffs’ and the putative class’ claim for
punitive damages against AstraZeneca cannot be sustained because an award of punitive
damages by a jury that: (1) is not provided constitutionally adequate standards of sufficient
clarity for determining the appropriate imposition of, and the appropriate size of, a punitive
damages award; (2) is not adequately instructed on the limits of punitive damages imposed by
the applicable principles of deterrence and punishment; (3) is not expressly prohibited from
awarding punitive damages, or determining the amount of an award of punitive damages, in
whole or in part, on the basis of invidiously discriminatory characteristics, including without
limitation the residence, wealth, and corporate status of AstraZeneca; (4) is permitted to award
punitive damages under a standard for determining liability for punitive damages that is vague
and arbitrary and does not define with sufficient clarity the conduct or mental state that makes
punitive damages permissible; (5) is not properly instructed regarding Plaintiffs’ and the putative
class’ burden of proof with respect to each and every element of a claim for punitive damages;
and (6) is not subject to trial court and appellate judicial review for reasonableness and
furtherance of legitimate purposes on the basis of constitutionally adequate and objective
standards, would violate AstraZeneca’s Due Process and Equal Protection rights guaranteed by
the Fifth and Fourteenth Amendments to the United States Constitution, and would be improper

under the constitutions, common law and public policies of any applicable states’ laws.

57
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 28 of 30

Fifty-Fifth Defense

To the extent punitive damages are sought, Plaintiffs’ and the putative class’ claim for
punitive damages against AstraZeneca cannot be sustained because an award of punitive
damages that is subject to no predetermined limit, such as maximum multiple of compensatory
damages or a maximum amount of punitive damages that may be imposed, would: (1) violate
AstraZeneca’s due process rights guaranteed by the Fifth and Fourteenth Amendments to the
United States Constitution; (2) violate AstraZeneca’s right not to be subjected to an excessive
award; and (3) be improper under the constitutions, common law and public policies of any
applicable states’ laws.

Fifty-Sixth Defense

AstraZeneca adopts by reference any additional applicable defense pled by any other
defendant not otherwise pled herein.

Fifty-Seventh Defense

AstraZeneca hereby gives notice that it intends to rely upon any other additional defense
that is now or may become available or appear during, or as a result of the discovery proceedings
in this action and hereby reserves its right to amend its answer to assert such defense.
AstraZeneca also reserves the right to assert such other and related defenses as may become
available in the event of a determination that the action, or some part thereof, is governed by the
substantive law of a state other than California, Delaware, Florida, [inois, Louisiana,
Minnesota, New Jersey, New York, Pennsylvania, Texas, Washington and/or any other State

whose law is or becomes relevant in the course of this multidistrict litigation.

58
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 29 of 30

WHEREFORE, AstraZeneca prays that this Court:

1. Dismiss the Intervenors’ Amended Master Consolidated Class Action Complaint with

prejudice and enter judgment in favor of AstraZeneca against Plaintiffs;
2. Award AstraZeneca its costs and expenses; and

3, Grant such other and further relief for AstraZeneca as this Court deems just and

proper.

April 9, 2004
/s/ Lucy Fowler
Nicholas C. Theodorou, Esq. (BBO# 496730)
Lucy Fowler (BBO # 647929)
FOLEY HOAG LLP
155 Seaport Boulevard
Boston, MA 02210

D. Scott Wise, Esq. (admitted pro hac vice)
Kimberley Harris, Esq. (admitted pro hac vice)
DAVIS POLK & WARDWELL

450 Lexington Avenue

New York, NY 10017

ATTORNEYS FOR DEFENDANT
ASTRAZENECA PHARMACEUTICALS LP

59
Case 1:01-cv-12257-PBS Document 787-3 Filed 04/09/04 Page 30 of 30

CERTIFICATE OF SERVICE

I certify that on April 9, 2004, a true and correct copy of the foregoing document was
served upon all counsel of record by electronic service pursuant to CMO 2, by causing a copy to

be sent to Verilaw Technologies for posting and notification.

/s/ Lucy Fowler

Lucy Fowler

60
